     Case 3:05-cr-00465-JSW           Document 116      Filed 12/06/05      Page 1 of 2



 1   JULIANA DROUS
     Attorney at Law SBN 92156
 2   214 Duboce Avenue
     San Francisco, California 94103
 3   Telephone: (415) 863-3580
     Fax: (415) 255-8631
 4   jdrous@msn.com
 5   Attorney for Defendant
     RALPH PETERS
 6
 7                                   UNITED STATES DISTRICT COURT
 8                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                            No. CR 05-00465 JSW
10
                     Plaintiff,                           STIPULATION AND ORDER RE:
11   vs.                                                  MODIFICATION OF ORDER
                                                          SETTING CONDITIONS OF RELEASE
12
     RALPH PETERS,
13
                 Defendant.
14   ______________________________/
15           On October 12, 2005, Magistrate James Larson ordered that defendant RALPH PETERS be
16   released to Cornell Corrections on condition that two sureties, his sister Josephine Boyd and his
17   friend John Moran, sign the bond in Los Angeles. Ms. Boyd has signed the bond. Mr. Moran has
18   not signed the bond. Mr. Peters has complied with all conditions of release over which he has
19   control.
20           IT IS HEREBY STIPULATED by the parties that the conditions of release be modified,
21   allowing Mr. Peters’ release upon the signature of one surety, that of his sister Josephine Boyd.
22   Dated: December 2, 2005                                              /s/
                                                           JULIANA DROUS
23                                                         Attorney for Defendant
                                                           RALPH PETERS
24
25   Dated: December        , 2005                                         /s/
                                                           MONICA FERNANDEZ
26                                                         Assistant U.S. Attorney
27
     STIPULATION AND ORDER RE:
28   MODIFICATION OF CONDITIONS OF PRE-TRIAL RELEASE
     Case 3:05-cr-00465-JSW           Document 116              Filed 12/06/05     Page 2 of 2

                                                                        ISTRIC
                                                                   TES D      TC
                                                                 TA




                                                                                         O
                                                            S
 1           IT IS SO ORDERED.




                                                                                          U
                                                           ED




                                                                                           RT
                                                                                DERED




                                                       UNIT
 2                                                                      O OR
                                                                IT IS S




                                                                                                 R NIA
 3   Dated: December 6          , 2005
                                                        HONORABLE JAMES LARSON
                                                                             s Larson




                                                       NO
 4                                                                     e JameMagistrate
                                                        U.S. District gCourt
                                                                         Jud
                                                                                        Judge




                                                                                                 FO
                                                        RT
 5




                                                                                             LI
                                                                ER




                                                           H




                                                                                         A
                                                                     N                       C
 6                                                                                       F
                                                                         D IS T IC T O
                                                                               R
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
     STIPULATION AND ORDER RE:
28   MODIFICATION OF CONDITIONS OF PRE-TRIAL RELEASE
